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           William P. Barr, Kathleen Hawk
 Sawyer, Jeffrey E. Krueger, Joseph McClain, Nicole
  C. English, T.J. Watson, William E. Wilson, M.D.,
                  and John Does I-X
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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV William P. Barr
                                          Attorney General of the United States
                                          U.S. Department of Justice
                                          950 Pennsylvania Avenue, NW
                                          Washington, DC 20530



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ZKRVHQDPHDQGDGGUHVVDUH Ginger D. Anders
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                                          1155 F Street, NW
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